Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 1 of 6 PageID #: 206




                                       s/John Gleeson
Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 2 of 6 PageID #: 207
Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 3 of 6 PageID #: 208
Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 4 of 6 PageID #: 209
Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 5 of 6 PageID #: 210
Case 1:07-cr-00437-JG   Document 77   Filed 02/12/08   Page 6 of 6 PageID #: 211
